        Case 4:12-cr-00143-KGB Document 104 Filed 05/10/13 Page 1 of 1




                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION


UNITED STATES OF AMERICA                                                    PLAINTIFF

VS.                             NO. 4:12CR00143-05-KGB

MILTON L. LAWS, JR.                                                       DEFENDANT


                                       ORDER

      Pending before the Court is a third motion for issuance of summons and for

revocation of pretrial release. (Docket entry #101) For good cause shown, the motion for

issuance of summons is GRANTED. The Clerk is directed to issue summons, and the

United States Marshal is directed to serve summons, upon Defendant Milton L. Laws, Jr.,

for appearance at a revocation hearing before United States Magistrate Judge Beth Deere

on May 17, 2013, at 3:00 p.m. to show cause why his pretrial release should not be

revoked.

      IT IS SO ORDERED this 10th day of May, 2013.



                                         ____________________________________
                                         UNITED STATES MAGISTRATE JUDGE
